                                                                                             Revised July 2012
                   United States District Court for Western District of Tennessee
                     MOTION FOR LEAVE TO APPEAR PRO HAC VICE

Case Title
 Plaintiff
 Jones, et al.
 Defendant
 Bain Capital Private Equity, et al.
 Case Number                                                   Judge
 2:20-cv-02892-SH L-cgc                                       Judge Sheryl H. Lipman

r,   Katharine Lane Malone                                        hereby apply to the United
States District Court for the Western District of Tennessee, pursuant to Local Rule 83.4(d), for
permission to appear and participate in the above-entitled action on behalf of
 JESSICA JONES, MICHELLE VELOTTA and CHRISTINA LORENZEN by whom I have been retained.
 Behalf of Themselves and All Others Similarly Situated

I am a member of goo d stan mg and er1gi·ble to pracfice bf
                                                          e ore thefo11owmg courts:
                                      Title of Court                                   Date Admitted
                       Supreme Court of California                                      7/16/2013
                USDC Northern District of California                                    4/8/2016




I certify that I subject myself to the jurisdiction of the United States District Court for the
Western District of Tennessee and have obtained and have familiarized myself with and agree
to be bound by the Western District of Tennessee Local Rules, Tennessee Supreme Court Rule 8
(Rules of Professional Conduct) and the Guidelines of Professional Courtesy and Conduct.

Please find attached a certificate of good standing from the highest Court of a state or the
District of Columbia, and from a United States District Court.

A proposed order, in word processing format, granting this Motion will be emailed to the ECF
mailbox of the presiding judge.




      The pro hac vice admission fee is $150.00 that shall be paid to the Clerk of Court through
                     the Court's Electronic Case Filing System's pay.gov feature.




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